       Case 1:21-cv-00361-KWR-KK Document 29 Filed 07/28/21 Page 1 of 1




                       IN THE UNITED STATES DISTRICT COURT

                            FOR THE DISTRICT OF NEW MEXICO
                                ___________________________

FORM-COVE MANUFACTURING, INC.,

               Plaintiff,

       vs.                                                             1:21-cv-00361-KWR-KK

CENTRAL MUTUAL INSURANCE COMPANY,
and HUB INTERNATIONAL INSURANCE SERVICES, INC.

               Defendants.



                                         JUDGMENT

       THIS MATTER comes before the Court upon Defendants’ Motion to Dismiss (Doc. 9).

Pursuant to the findings and conclusions set forth in the Memorandum Opinion and Order (Doc.

28), entered on July 28, 2021, and which accompanies this judgment, the Court finds that Plaintiff

failed to state a claim under Fed. R. Civ. P. 12(b)(6), and therefore this case should be

DISMISSED.

       IT IS THEREFORE ORDERED and ADJUDGED that all claims against the

Defendants in this action are hereby DISMISSED, thus disposing of this case in its entirety.

       IT IS SO ORDERED.



                                                    _________________________________
                                                    KEA W. RIGGS
                                                    UNITED STATES DISTRICT JUDGE
